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                                                         Exhibit A
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 Counsel are in present-value while most of the alleged benefits conferred are expressed in future­
 value. This analysis has been undertaken to compare the attorneys' fees to the alleged benefits to
 be conferred using present-day value, so that the comparison is an apples to apples comparison.
       5.     According to the Motion, Plaintiffs' Counsel claims to have secured the following
 monetary benefits for the Class!:




        6.       Utilizing the Nominal Amounts found in the Motion2 and the Declaration of
 Thomas Vasquez3 , below is a comparative chart that provides the present-day value assessment
 for each of the alleged future benefits to be conferred:




I Claims Administration
                   --------------+---~~-----------------+--~~----------------~
l Total Benefit

 The methodology employed to calculate the present-day value is the same as that identified in
 the Vasquez Declaration. lO I have assumed a real rate of interest of 2.S%-a 4.5% nominal yield
 and an underlying inflation rate of2.0%.


 I   The Motion, Doc. #7151 -1, at p. 34.
 2 The Motion, Doc. #7151 -1, at p. 34. and
 3   Vasquez Declaration, Doc. #6423-21, at Exhibit B, p. 6, Table 2-2.
 4 Vasquez Declaration, Doc. #6423-21, at Exhibit B, p. 6, Table 2-2.
 5 Vasquez Declaration, Doc. #6423-21, at Exhibit B, p. 49.
 6 The Motion, Doc. # 7151-1, at p. 34. To arrive at the discount rate for the Baseline Assessment Program, I
 assumed $35,000 was funded initially, with an additional $40,000,000 funded in equal annual payments of
 $2,666,666.66 over 15 years.
 7 The Motion, Doc. # 7151-1, at p. 34.
 8 The Motion, Doc. # 7151-1, at p. 34.
 9 The Motion, Doc. # 7151-1, at p. 34. To arrive at the discount rate for the Claims Administration Program, I
 assumed $11,925,000 was funded in equal annual payments of$183,461.53 for 65 years.
 10 Vasquez Declaration, Doc. #6423-21, at Exhibit 8, p. 35.
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        7.      Plaintiffs' Counsel's Motion ignores the 5% holdback for attorneys' fees with
respect to fees Plaintiffs' Counsel seeks from the Monetary Award Fund ("MAF") over the life
of the settlement. As represented by Plaintiffs' Counsel, the present-day value of the MAF is
$519,400,000. 11 At 5% and reduced t6 present-day value, the holdback attorneys' fees total
$25,970,000.                                               .




        8      If the present-day value of the alleged benefits to be conferred to the Class is
$607,281,278 then the total attorneys' fee being sought by Plaintiffs' Counsel reflected in
present-value dollars is $138,470,000, which is 22.8% of the total alleged benefits to be
conferred to the Class and not 9% as represented in the Motion.
           9.       I declare under the penalty of perjury that the foregoing is true and correct.

           Dated: March 23, 2017
           Houston, Texas




12   The Attorneys' Fees Provision is present-day value.
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                                  RESUME


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PRESENT ACTIVITIES:        President, Waterford International Asset Management, Inc. (4/88 to
                           present). Economic and financial analysis.


PROFESSIONAL EXPERIENCE:   Principal, Private Equity, Inc. (9/81 to 9/87). Private Equity NASD
                           direct participation broker/dealer.

                           President (3178 - 9/81) Mosher, McCoin & Sims, Inc., investment
                           advisors.

                           Chief Economist (1976-1978), Economist ( 1974-1976)
                           American General Capital Management, Inc. Investment
                           advisors and mutual fund managers.


TEACHING EXPERIENCE:       Adjunct Professor Business and Economics, Houston Baptist
                           University, 1978-2006. Courses taught: investments, corporate
                           finance.

                           Lecturer in Administrative Science, Jess H. Jones School of
                           Administration, Rice University 1985-1986.

                           Lecturer in Finance and Economics, University of Houston, 1975 to
                           1985. Instructor of Finance 1971-1974, Teaching Fellow,
                           University of Houston 1970-1971. Subjects taught (graduate and
                           under-graduate): corporation finance, money and banking,
                           managerial economics, investments, micro-economics.


                                                                          Exhibit 1
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                           Program Director, Intensive Management Development Institute,
                           Houston, Texas. Financial management instruction for
                           corporations.

EDUCATION:                 Chartered Financial Analyst, 1979

                           Investment Management Program Stanford University, 1976

                           Ph.D. (1974) University of Houston. Areas of Defense:
                           macroeconomics, micro-economics, econometrics, monetary
                           economics, corporation finance and investments. Dissertation:
                           The Relative Performance of Open-End Investment Companies
                           During Periods of Rising and Falling Securities Prices, 1974.

                           B.B.A. (1970) University of Houston Major: Finance


PUBLICA TIONS:             "The Bond Refunding Decision: One Face or Two?" Journal of
                           Finance, March, 1977, (with T. H. Mayor)

                           "The Rate of Discount in Bond Refunding," Financial
                           Management, Autumn, 1974 (with T. H. Mayor).

                           Instructor's Manual Security Analysis and Portfolio
                           Management, Holt, Rinehart, and Winston, 1971.


PRESENTED PAPERS:          "Inflation, Common Stock Prices, and Financial Planning",
                           International Association of Financial Planners, Connecticut and
                           Western Massachusetts Chapters, Hartford, Connecticut, May,
                           1976.

                           "Inflation and Common Stock Prices: 1976 and Beyond", Houston,
                           Chapter, National Association of Business Economists, April 1976.

                           "The inflation Outlook for 1976", Houston Chapter, National
                           Association of Business Economists, October, 1975.

                           "Wall Street and The Pension Reform Act of 1974: Implications for
                           Labor Managers", Ad Hoc Association of Directors of Human
                           Relations, Motorola Executive Institute, Oracle, Arizona May 1975.


                           "Discriminate Analysis of Consumer Credit Applications",
                           Managers and Directors Annual Conference - Texas Credit
                           Union League, March, 1972, Houston, Texas

                           Outstanding Facuity Award 2001-2002, Houston Baptist
TEACHING AWARD:            University, Professional MBA Program.
      Case 2:12-md-02323-AB Document 7355-1 Filed 03/27/17 Page 6 of 6




HONOR SOCIETIES:               Omicron Delta Epsilon (International Honor Society in
                               Economics)

                                Beta Gamma Sigma (Honor Society in Business Administration)


PROFESSIONAL SERVICE:           Economic Studies Committee, Investment Company Institute,
                                Washington, D.C. The committee is chartered to study and assess
                                the impact of developments in the economy and in the financial
                                markets on investment companies.

                                Abstractor: Financial Analyst Digest, 1990

                                Faculty member 4th Annual Advanced Expert Witness Course,
                                State Bar of Texas, February 2004


PROFESSIONAL ASSOCIATIONS: American Economic Association
                           American Finance Association
                           Houston Society of Financial Analysts
                           Financial Analysts Association
                           National Association of Business Economists
                                   President Houston Chapter 1977
                                   Vice-President, Houston Chapter 1976
